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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                   (electronically filed)

UNITED STATES OF AMERICA                                                               PLAINTIFF

V.                                                                             NO. 3:21-CR-17-DJH

QUENTIN MCDOUGLE                                                                    DEFENDANT

                              DEFENDANT’S MOTION TO
                          MODIFY PRE-TRIAL RELEASE ORDER

       Comes the Defendant, Quentin McDougle, through counsel, and requests this Honorable

Court, pursuant to 18 USC § 3145(a)(2), to modify his pre-trial release conditions to allow him

work release to work as a merchandise delivery driver for Luxrae (business #: 502-386-6381).

Mr. McDougle has pled guilty in this case and requests this release to allow him to work as many

hours as possible in his job to accumulate income before he is sentenced.

       Mr. McDougle further requests permission to attend the birth of his child at University of

Kentucky Hospital in Lexington. The due date for the baby is September 4th. He is very excited

to be there for the birth of his child, and the mother will very much appreciate his support. Mr.

McDougle requests permission to go to the hospital when his child’s mother goes. He will then

return home within 12 hours after the birth.

       Mr. McDougle has been completely compliant with pre-trial release conditions.

       WHEREFORE, Mr. McDougle respectfully requests this Honorable Court enter the

attached Order granting work release and release for the birth of his child.

                                                             Respectfully submitted,
                                                             /s/ Rob Eggert
                                                             ROB EGGERT
                                                             600 West Main Street
                                                             Suite 200
                                                             Louisville, Kentucky 40202
                                                             (502) 540-5700
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 13, 2021, the foregoing motion was

electronically filed with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic filing to all of the attorneys of record.

                                                                /s/ Rob Eggert
                                                                Rob Eggert




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